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UN|TED STATES DlSTRlCT COURT ' Fll.ED B@/ DC

WESTERN DlSTRlCT OF TENNESSEE
MEMPH|S D|VIS|ON

UN|TED STATES OF AMER|CA M

.v. 2:o4cR20058-o1-D w/b O»F itt

DAVID R. GILES
Leslie Ba|lin Retained
Defense Attorney
200 Jefferson Ave., Ste. 1250
Memphis, TN 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or Af'ter November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Nlarch 30, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section diem Offense Mi_§l
Concluded
18 U.S.C. § 922(g) Felon in Possession cfa Firearm 08/05/2003 ‘l

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/10/1969 June 30, 2005

Deft’s U.S. lV|arshal No.: 19491-076
,£

B RN[CE B. DONALD
UN|TED STATES DlSTR|CT JUDGE

Defendant’s |V|ai|ing Address:
4047 Ronnie Avenue
lVlemphis, TN 38128

       

July Y , 2005

Tnis document entered on the docket sheet in compliance
with Flule 35 and/or 32(b) FRCrP on ~

05 JUL -8 PH |4: I3

THJMAS ,
m us WMH

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Case No: 2:04CR20058-01 Defendant Name: David R. G|LES Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of T|ME SERVED (1 day).

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the Probation Oftice.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:04CR20058-01 Defendant Name: David R. GlLES Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall notassociate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation ocher to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
iaw enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall serve 4 Months in a Ha|f-way House.

2. The defendant shall participate in the Home Detention program for a period of 6 Months.
During this time, defendant will remain at defendant’s place of residence except for
employment and other activities approved in advance by the defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District ofTennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Ocher. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation thcer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Ofiice’s Sliding Sca|e for E|ectronic Monitoring Services.

3. The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Ocher.

4. The defendant shall seek and maintain full-time employment

5. The defendant shall cooperate in the collection of DNA as directed by the Probation Ofticer.

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CR|M|NAL MONETARY PENALTIES

The defendant shall paythe foilowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $500.00

The Special Assessment shall be due immediately

FlNE
A Fine in the amount of $ 500.00 is imposed.

REST|TUT|ON

No Restitution was ordered.

 

UNITED sATE DSTIIC COURT - WETER DISTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20058 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Stephen P. Hail

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BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

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Honorable Bernice Donald
US DISTRICT COURT

